Case 2:24-cv-00080-JRG Document 52-8 Filed 09/18/24 Page 1of3PagelD#: 1014

EXHIBIT 6
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Zurich Airport to Shreveport Regional Airport, 5103 Hollywood Ave,
Google Maps Shreveport, LA 71109

Map data ©2024 Google, INEGI! 500 mit J

4. Zurich, Switzerland—Shreveport, LA
Connecting1 or more stops 14 hr 50 min+
Round trip price, Oct 4-8 from $829
Delta, United, KLM...

[4A See results on Google Flights

Explore nearby Shreveport Regional Airport

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Restaurants Hotels

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Google Maps

Shreveport Regional Airport, 5103 Hollywood Ave,
Shreveport, LA 71109 to 100 E Houston St, Marshall, TX 75670

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Explore nearby 100 E Houston St

Restaurants Hotels Gas stations Parking Lots

Map data ©2024 Google

38 min
35.0 miles

39 min
34.2 miles

3 hr 51 min

> & Amtrak Thruway Connecting Service

More

Carterville

Google 3

Drive 35.0 miles, 38 min

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